                                           EXHIBIT A

                                     [FILED UNDER SEAL]



       1.      I agree that I am guilty of the offenses to which I am pleading guilty, and I agree

that the following facts are true.

       2.      Beginning in at least 2014, and continuing through in or about January 2020, in

the Northern District of California and elsewhere, I agreed with Mohammed NURU, John Porter,

Mark Arsenault, and others, to provide payments and other benefits at the request of NURU on

behalf of the San Francisco Group of Recology Inc., a waste management company responsible

for solid waste collection services in the City and County of San Francisco (the “City”).

       3.      More specifically, I agreed to and did in fact arrange for Recology to provide such

payments and benefits at the request of NURU, who was then a public official with the City and

County of San Francisco, knowing and intending that they were made to influence NURU to use

his power and perform official acts to benefit Recology’s business.

       4.      From in or around February 2012 until June 2020, I was the Group Government

and Community Relations Manager for Recology Inc.’s San Francisco Group. I reported to

Mark Arsenault, the Vice President and General Manager of Recology’s San Francisco Group,

from in or around 2014 to in or around the end of 2017. From in or around January 2018 to June

2020, I reported to John Porter, who replaced Arsenault as the Vice President and General

Manager of Recology’s San Francisco Group.

       5.      During the relevant time, NURU was the director of San Francisco Public Works,

also known as the Department of Public Works (herein, “DPW”) of the City and County of San

Francisco, which regulated Recology. As Director of DPW, NURU was a powerful public

official who had great influence over City business, including the City’s relationship with

Recology. For example, NURU presided over the process that governed the rates that Recology

could charge in San Francisco for its residential solid waste collection services, and was

responsible for making a recommendation as to whether any rate increase for Recology should

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be approved. I also understood that NURU was in a position to influence the rates, known as

tipping fees, that Recology charged DPW when DPW dumped materials at a Recology facility

called Sustainable Crushing. NURU could also approve, deny, or otherwise affect operational

changes that Recology wanted to make. NURU’s power and influence extended not only to

business within the purview of DPW, but also to other City departments and agencies.

       6.      An essential part of my job at Recology during this time period was to keep

Mohammed NURU happy so that he would use his official position in Recology’s favor.

Specifically, Recology wanted to keep NURU happy so that he would approve, or influence the

approval of, Recology’s various requests for price increases, access to funds for capital

improvements that required NURU’s approval, and operational changes. Porter, Arsenault, and

others would often ask me if NURU was happy. Because of the power and influence he wielded

in his official position, a happy NURU was good for Recology’s business. The converse was

also true. Recology understood that an unhappy NURU could be very bad for Recology’s

business.

       7.      In order to ensure that NURU was happy with Recology and to influence him to

act in Recology’s favor as opportunities arose, I was one of the people that helped direct a stream

of payments and benefits to NURU or his designees on Recology’s behalf, including financial

contributions to organizations at his direction, services, gifts, and other things of value. In most

instances, Nuru or his designee requested the money or benefit and directed where it would go.

       8.      For example, at NURU’s direction, I arranged for Recology to pay approximately

$150,000 per year, in $30,000 installments, to the non-profit organization the San Francisco

Clean City Coalition, which I believed to be serving as the fiscal sponsor for a DPW program

called “Giant Sweep.” I arranged for these payments from no later than August 2014 through

approximately the end of 2019 with the expectation that providing this significant sum of money,

the largest scheduled contribution each year by Recology’s San Francisco Group, would cause

NURU to use his influence to benefit Recology, including in connection with Recology’s lengthy

rate increase process. I expected that, as DPW’s Director, NURU ultimately could control how

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this money was used.

       9.      As was my practice, I sought approval from my supervisor, Arsenault or Porter,

before arranging to pay the approximately $150,000 that Nuru requested each year. I did not

have authority to approve payments this large and do not believe that either Arsenault or Porter

had final authority to approve payments of this magnitude either. I understood that the money

Recology sent to Clean City Coalition for Giant Sweep was important to NURU, which I

communicated to Porter and Arsenault. NURU described these payments as “the big one” in our

conversations. Because I understood the importance to NURU of these payments and the value

to Recology of keeping NURU happy, I offered to write a personal check when NURU did not

timely receive one of Recology’s promised $30,000 Giant Sweep payments in May 2015.

       10.     At around the same time in 2015, NURU asked me for help finding his son a job.

Understanding that Recology was at the time preparing to submit a rate increase application to

the City for NURU’s approval, I arranged for NURU’s son to work at Recology Sunset

Scavenger, for which he painted debris boxes. I expected that Recology’s payments and benefits

to NURU (like a job for his son) would influence NURU to use his official position to benefit

Recology. I understood that NURU’s son was the only high school student so employed by

Recology in San Francisco. NURU’s son continued to work at Recology during the school year

and summers through approximately June 2017. I stipulate that Recology paid NURU’s son a

total of approximately $19,565 during that time.

       11.     In or around June 2017, Mark Arsenault advised me that NURU’s son could no

longer work for Recology because it would not look good for Recology to employ the Director

of DPW’s son. I then arranged, with Arsenault’s knowledge and approval, for Recology to give

a grant to a non-profit on whose board I served, the Asian Pacific American Community Center

(APACC) in San Francisco, to create a summer program. I knew and discussed with Arsenault

that the summer program would consist of NURU’s son, and that Recology’s money would be

used to pay NURU’s son’s salary for the summer. I also arranged for Recology to fund NURU’s

son’s salary for a second summer at the non-profit in 2018. By this time, John Porter was my

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supervisor. As before with Arsenault, I would have needed Porter’s authorization to pay for the

second summer’s salary for NURU’s son. I stipulate that Recology gave approximately $9,600

to APACC in 2017 and approximately $14,000 to APACC in 2018 for the summer internship

program that employed NURU’s son.

       12.    Each year from at least 2016 through 2019, at NURU’s request, I also coordinated

Recology’s monetary contributions for the DPW holiday party. I recall NURU first asking for a

donation to the holiday party in or around December 2016 during a meeting I attended with Mark

Arsenault. Recology needed NURU’s support for certain operational changes relating to the

2017 rate application. During the meeting, NURU agreed to support Recology’s operational

changes and asked Recology for $5,000 to help pay for the DPW holiday party. Arsenault

agreed. NURU frequently requested payments or “donations” from Recology, including during

times that we were seeking official assistance from NURU. I understood – and believe it was

understood within Recology management – that providing the payments that NURU requested

would influence NURU to act favorably toward Recology, including supporting the operational

changes Recology was seeking.

       13.    NURU subsequently requested that Recology contribute to the DPW holiday

party every year through 2019. NURU advised me that Lefty O’Doul’s Restaurant was catering

the holiday parties and directed me to have Recology’s checks made out to the Lefty O’Doul’s

Foundation for Kids, which I knew to be a charity for underprivileged children. I prepared at

least one internal check request form for Recology and described the payment as a “holiday

donation” to the Lefty O’Doul’s Foundation. I knew that the money was not a holiday donation

to the Foundation and would not be used for underprivileged children. I directed the money to

the Lefty O’Doul’s Foundation for Kids because NURU told me to, and I knew that the money

would be used to pay for expenses associated with the DPW holiday party. I believed that

NURU wanted Recology to give the money to the Lefty O’Doul’s Foundation because Recology

was not allowed to give the money to him or to DPW directly. It was my practice to advise my

supervisor at the time, either Arsenault or Porter, that NURU had asked for money for the DPW

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holiday party and seek their approval for these contributions. There is no one else within the San

Francisco Group from whom I would have sought approval. Following approval from Arsenault

or Porter, I would arrange for Recology to issue a check to the Lefty O’Doul’s Foundation, and

then mail or hand-deliver the check to NURU or to somebody from the Lefty O’Doul’s

Foundation. I stipulate that I arranged for Recology to give NURU the following amounts each

year for the DPW holiday party, in the form of “holiday donations” to the Lefty O’Doul’s

Foundation: $5,000 (2016); $15,000 (2017); $20,000 (2018); $20,000 (2019). I understood that

the holiday parties were very important to NURU because they showcased his power and

importance in the City. I attended the parties each year; other executives from Recology also

attended at various times, including Porter and Arsenault and the General Managers of the

Recology San Francisco Group companies.

       14.      Recology also owned and operated a facility in San Francisco, Sustainable

Crushing, which accepted material such as concrete and asphalt for a “tipping fee,” or price per

ton, and processed it into an aggregate. DPW was Sustainable Crushing’s largest customer for

dumping materials and Recology knew that the facility was important to NURU. By the summer

of 2018, Sustainable Crushing was losing money; as a result, Recology wanted to raise the

tipping fees that it charged DPW. I understood that Recology needed NURU’s support for the

price increase. The General Manager of the Recology company that owned Sustainable

Crushing asked me to set up a meeting in the summer of 2018 between Recology and NURU to

discuss Recology’s desired price increase. I arranged and attended the meeting, which was

attended by NURU, John Porter, and the Recology General Manager. At the meeting, NURU

promised to assist Recology with the price increase.

       15.     I also participated in a meeting with NURU, John Porter, and others on November

21, 2018, in which Recology again sought NURU’s assistance in obtaining its Sustainable

Crushing price increase. On November 26, 2018, in a phone call, I had a conversation with

NURU in which he again promised to assist with the Sustainable Crushing price increase and

told me to send him Recology’s bills with the new prices. In that same conversation, he told me

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that he needed more money for the DPW holiday party and requested that Recology give him

$20,000 for the party. I agreed that Recology would increase its contribution to the DPW

holiday party to $20,000. Although NURU did not explicitly condition his assistance with

Recology’s price increase on Recology’s agreement to give $20,000 to the DPW holiday party, I

understood that this was what NURU wanted based on the phone conversation and my ongoing

course of dealings with NURU over a period of years.

       16.     After NURU asked me for $20,000 for the DPW Holiday Party, I contacted my

supervisor, John Porter, told him about the conversation, and sought his approval for the $20,000

payment. Porter approved. I then prepared a check request that, as before, described the

payment as a “holiday donation” to the Lefty O’Doul’s Foundation for Kids, even though I knew

that this was not a holiday donation to the Foundation but was instead a payment for the DPW

holiday party. Porter signed this check request and Recology then issued a $20,000 check to the

Foundation. At NURU’s instruction, when I received the check, I had someone at Recology mail

it directly to NURU, rather than the Foundation.

       17.     Recology also gave NURU other gifts and benefits, which we expected would

influence NURU to take official action that would benefit Recology. For example, in December

2017, Mark Arsenault and I traveled to New York with NURU and City Administrator Naomi

Kelly to tour a trash collection system used on Roosevelt Island. I understand and believe that

the City booked NURU and Kelly’s airfare and hotel rooms. However, when Arsenault and I

arrived at the hotel where we would all be staying, we agreed that it was not a nice hotel and that

it would be embarrassing for NURU and Kelly to stay there. With Arsenault’s knowledge and

approval, I arranged for NURU and Kelly to stay at a Courtyard Marriott nearby. I paid for those

hotel rooms using my Recology purchase card and submitted the expenses for reimbursement by

Recology. The total cost of each room, paid for by Recology, was $865.34. Neither NURU nor

Kelly paid me or, to my knowledge, Recology back for the cost of their hotel rooms. I also paid

for meals for at least Kelly during the trip, again using my Recology purchase card. I also

understood that Naomi Kelly was important to Recology because she sat on the Rate Board,

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which ultimately approved Recology’s rates in San Francisco.

       18.     In another example, in June 2016, Recology paid for the funeral of a DPW

employee, describing the payment as a “donation for DPW Partnership” to the San Francisco

Clean City Coalition. DPW employee Sandra Zuniga requested that Recology pay the mortuary

bill of $3,500. However, rather than having Recology pay the mortuary bill directly, I

coordinated having Recology send the funds to San Francisco Clean City Coalition to pay for it.

With Mark Arsenault’s knowledge and approval, I requested that the Clean City Coalition

invoice Recology $3,500 for a “community service project.” As with the other payments

discussed here, we did this because we believed that keeping NURU happy by making these

payments was good for business and that, in exchange, NURU would use his position as DPW

director to take official actions that would help Recology’s business. After the Clean City

Coalition’s Executive Director emailed me an invoice for $3,500 for “Donation for DPW

Partnership,” I arranged for Recology to issue a payment to the Clean City Coalition for that

purpose. Mark Arsenault signed off on the payment.

       19.     I am not aware of Recology’s San Francisco Group providing donations or

financial benefits of this magnitude to any other elected or appointed public official in San

Francisco during the period described herein.

       20.     I agree that when I played a role in directing this stream of payments and benefits

to NURU or his designees, I was acting within the scope of my employment with Recology and

for the purpose of benefitting the company. I was commended on multiple occasions by

Arsenault and Porter for my role in maintaining Recology’s relationship with NURU and DPW,

including in performance reviews I received in my role as Government and Community

Relations Manger. I received bonuses and salary increases reflective of my success.

       21.     As described above, this stream of payments and benefits to NURU or his

designees was provided with the knowledge and approval of my supervisors, first Mark

Arsenault, and then John Porter. We did this with the understanding and the expectation that in

exchange for these payments and benefits, NURU would take official action or use his influence

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as DPW Director to benefit Recology’s business as opportunities arose, and refrain from taking

actions adverse to Recology. When I received requests for donations or contributions, including

requests from NURU, my practice was always to inform my supervisor of the request and who

was making it. When Porter and Arsenault learned that NURU was the person making the

request, they would always, or virtually always, agree to the payments and manually sign off on

the check request forms indicating their approval of the payments requested by NURU.

        22.     Because providing these benefits and items of value to NURU on Recology’s

behalf in return for NURU’s official assistance was the regular course of dealings between

Recology and NURU over a period of years, I did not believe it was necessary for either of us to

say this out loud. I knew that Recology was not allowed to give money to NURU or DPW

directly, so Recology gave the money to non-profit organizations at NURU’s direction.

        23.     I stipulate that the City of San Francisco received federal assistance in excess of

$10,000 in a one-year period within twelve months before or after the conduct covered by this

Plea Agreement. I further stipulate that the conduct described above was intended to influence

or reward NURU in connection with a transaction or series of transactions of DPW that involved

$5,000 or more.

        24.     I agree that at all relevant times described above, I acted knowingly and with the

intent to defraud, that is, the intent to deprive the public of its right to the honest services of a

public official, namely NURU, through bribery in breach of NURU’s fiduciary duty. I further

agree that my actions were material, that is they were capable of influencing NURU’s actions. In

addition, I stipulate and agree that the banking transactions generated by our scheme utilized

numerous interstate wire communications, including the checks issued by Recology at NURU’s

direction to the San Francisco Clean City Coalition, the Lefty O’Doul’s Foundation, and the

Asian Pacific American Community Center. I further stipulate that on at least one occasion, in

November 2018, I directed someone at Recology to utilize the United States mail to mail a check

to NURU at his request for the DPW holiday party.

                                       Other Relevant Conduct

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       25.     After learning about NURU’s arrest in January 2020, I deleted text messages and

emails that I had exchanged with NURU.

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       The foregoing facts are set forth solely to assist the Court in determining whether a

factual basis exists for my plea of guilty, and are not intended to be a complete or comprehensive

statement of all the facts within my personal knowledge regarding the charged crimes and related

conduct by NURU or others.




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